                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           No. 3:11-00194
                                                )           JUDGE CAMPBELL
STERLING RENEVA RIVERS                          )


                                            ORDER

       Pending before the Court is the Defendant’s Memorandum Of Law In Support Of

Petition To Dismiss Indictment Due To Outrageous Government Conduct (Docket No. 1055),

and other filings in support of the request to dismiss. (Docket Nos. 1091, 1092, 1093, 1197,

1231, 1255, 1256). The Government has filed several briefs in response to the request for

dismissal. (Docket Nos. 1061, 1103, 1179, 1224). The Court has scheduled an evidentiary

hearing on the request to dismiss for May 16, 2013.

       Through a separate under-seal filing (Docket No. 1274), the Defendant has made requests

for the issuance of subpoenas to various individuals to appear at the May 16, 2013 hearing and

testify. This has clarified the basis for Defendant’s outrageous government conduct motion. In

order to rule on the Defendant’s requests for subpoenas, the Court must make an initial

determination of what proof is relevant to establishing the outrageous government conduct

defense. At the May 16 hearing, the Defendant’s proof will be limited as set forth herein.

       The “outrageous government conduct” defense has its origin in statements of the

Supreme Court in United States v. Russell, 411 U.S. 423, 430, 93 S.Ct. 1637, 36 L.Ed.2d 366

(1973) recognizing that “[w]hile we may some day be presented with a situation in which the

conduct of law enforcement agents is so outrageous that due process principles would absolutely



Case 3:11-cr-00194        Document 1275        Filed 05/08/13     Page 1 of 5 PageID #: 6276
bar the government from invoking judicial processes to obtain a conviction. . . the instant case is

distinctly not of that breed.” In applying this defense, the Sixth Circuit has explained that it is

“distinct from the affirmative defense of entrapment, which requires the defendant to establish

that he was not predisposed to commit the crime.” United States v. Warwick, 167 F.3d 965, 974

(6th Cir. 1999). Under the outrageous government conduct defense, the court “looks only at the

government’s conduct and determines whether it is sufficiently outrageous so as to violate the

Constitution.” Id. On the other hand, the Sixth Circuit has held that a defendant whose defense

sounds in inducement cannot avail himself of the defense because “‘government conduct [that]

induces a defendant to commit a crime, even if labeled “outrageous,” does not violate that

defendant’s constitutional right of due process.’” Id. (quoting United States v. Tucker, 28 F.3d

1420 (6th Cir. 1994)). The defense is also unavailable where the defendant argues that an

“undercover officer’s involvement in creating his crime was so significant that criminal

prosecution violates due process.” Id.

       The circumstances under which such a defense would be recognized have been narrowed

through decisions by the Sixth Circuit. For example, in United States v. Pipes, 87 F.3d 840, 843

(6th Cir. 1996), the court held that violation of a state statute requiring law enforcement officers

to obtain prior judicial approval before using seized contraband in a reverse sting operation

“stops far short of violating that ‘fundamental fairness, shocking to the universal sense of

justice,’ mandated by the Due Process Clause of the Fifth Amendment.” See also Warwick, 167

F.3d at 975 (defense not available to dismiss firearm charge where undercover officers allegedly

induced defendant to accept shotgun in exchange for marijuana); United States v. Mack, 53 F.3d

126 (6th Cir. 1995)(defense not available to dismiss felon in possession of a firearm prosecution

                                                  2



Case 3:11-cr-00194         Document 1275         Filed 05/08/13      Page 2 of 5 PageID #: 6277
where the informant allegedly requested that the defendant bring a gun to a prearranged

meeting).

        Defendant’s filings, while numerous and somewhat disorganized, generally allege the

following conduct in support of the outrageous government conduct defense: (1) The

Government’s confidential informant, Chris Wharton, revived the Vice Lords gang (after it had

ceased operating) and physically and psychologically coerced the Defendant into engaging in the

drug and gun crimes for which he is indicted; (2) The Defendant was arrested and indicted in this

case to protect a Putnam County Commissioner who had engaged in drug dealing because the

Defendant had evidence of that drug dealing, including a recording on his cell phone; (3) Former

Wilson County Sheriff’s Deputy John Edwards, who has been convicted for obstruction of

justice in an unrelated case, was involved in the investigation of the Defendant and tainted this

investigation by setting up innocent people; and (4) AUSA Braden Boucek has bribed

Defendant’s former attorneys and has sabotaged items of evidence in this case.

        Under applicable case law, the Defendant’s first theory, even if proved, would not

establish the outrageous government conduct defense because it alleges that the government’s

“involvement in creating his crime was so significant” as to violate due process. Warwick, 167

F.3d at 974. Accordingly, the motion to dismiss on this basis is denied. The Defendant may,

however, to the extent relevant, explore such alleged conduct of Chris Wharton during cross

examination at trial to attempt to show entrapment or other defense, and to impeach his

credibility.

        As for the Defendant’s second theory, the Court concludes that such a theory could

potentially establish the outrageous government conduct defense if the Defendant shows that his

                                                 3



Case 3:11-cr-00194        Document 1275         Filed 05/08/13     Page 3 of 5 PageID #: 6278
prosecution was motivated by a desire to protect the Putnam County Commissioner, and not by

evidence of the Defendant’s guilt of the crimes charged. The Defendant must, as a threshold

matter, however, come forward with admissible evidence of law enforcement’s motivation. For

purposes of the hearing on May 16, 2013, the Court will assume that the Defendant had evidence

of alleged drug dealing by the Putnam County Commissioner on June 5, 2011, on his phone or

otherwise, when he was arrested. All evidence at the hearing will be limited to the issue of

motivation.

       As for the third theory, the Defendant has come forward with no credible evidence that

former deputy John Edwards tainted the investigation of the Defendant’s alleged crimes. The

affidavit of inmate Corey Lanier (Docket No. 1274-1) contains only non-specific references to

the Vice Lords in Lebanon and to Chris Wharton, and does not mention the Defendant nor does

it indicate that evidence related to him was tainted by John Edwards. The Court notes that the

Defendant has not requested a subpoena for Mr. Lanier. The Defendant has failed to establish a

good faith basis for an evidentiary hearing on this theory, and the motion to dismiss on this basis

is denied.

       Finally, the Defendant has come forward with nothing but rank speculation and

conspiracy theories with regard to the alleged misconduct of AUSA Boucek. The Defendant has

failed to establish a good faith basis for an evidentiary hearing on this theory, and the motion to

dismiss on this basis is denied.

       In conclusion, the hearing on May 16, 2013 will be limited to evidence that the

Defendant’s prosecution was motivated by a desire to protect a Putnam County Commissioner,

and not by evidence of the Defendant’s guilt of the crimes charged. To the extent the Court has

                                                 4



Case 3:11-cr-00194        Document 1275         Filed 05/08/13      Page 4 of 5 PageID #: 6279
already approved the issuance of subpoenas for the May 16, 2013 hearing, the witnesses

summoned will be limited to testimony on this issue.

       It is so ORDERED.



                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




                                               5



Case 3:11-cr-00194       Document 1275        Filed 05/08/13    Page 5 of 5 PageID #: 6280
